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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF KENTUCKY
                           LONDON DIVISION

                                  Electronically filed

DAVID WILSON, as Administrator                  )
of the Estate of Lisa Noble,                    )
Deceased,                                       )
             Plaintiff                          )
                                                )         Civil Action No. 6:17-cv-157-KKC
v.                                              )
                                                )
BEACON TRANSPORT, LLC,                          )
and TERRAN COOPER,                              )
         Defendants                             )

                                 AMENDED
                            NOTICE OF INSPECTION
                             PURSUANT TO RULE 34

      Comes now the Plaintiff, by counsel, and states that on February 2, 2018, he

filed a notice of inspection pursuant to Rule 34 and said inspection was scheduled for

February 22, 2018. On February 15, 2018 the Defendants requested that the

inspection be rescheduled for February 19, 2018.

      Therefore, Plaintiff hereby notifies all parties, pursuant to Rule 34 of the Federal

Rules of Civil Procedure and pursuant to the request of the Defendants, that on

Monday, February 19, 2018, at the hour of 1:00 o’clock p.m., at the law offices of

Benson, Risch & Lange, PLLC, 401 W. Main Street, Suite 2150, Louisville,

Kentucky 40202, an inspection shall take place of the following tangible items:

      1. Any and all mobile or cellular phones, tablets, laptops, still and/or video

cameras to which the Defendant, Terran Cooper, had access on January 5, 2017, and in

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particular the mobile or cellular phone or any other devise(s) the Defendant, Terran

Cooper, used to take photographs and/or video at the scene of the collision which is

the subject matter of this litigation. Appropriate charging devices and access codes

should also be produced so that the data from the devices can be fully downloaded.

      Said inspection shall take place for purposes of discovery and all other purposes

permitted by the Federal Rules of Civil Procedure.

      The Plaintiff will have a IT expert available to inspect the requested devises and

will download data from said devices.



                                         Timothy D. Lange
                                         BENSON, RISCH & LANGE, PLLC
                                         401 W. Main Street, Suite 2150
                                         Louisville, Kentucky 40202
                                         Telephone: (502) 583-8373

                                         D. Randall Jewell
                                         JEWELL LAW OFFICE, PLLC
                                         P.O. Drawer 670
                                         Barbourville, Kentucky 40906
                                         Telephone: (606) 546-9714

                                         Billy J. Taylor
                                         TAYLOR LAW OFFICE, PLLC
                                         110 Knox Street, Suite A
                                         Barbourville, Kentucky 40906
                                         Telephone: (606) 545-0224

                                         By: s/D. Randall Jewell ___________
                                             ATTORNEYS FOR PLAINTIFF




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                          CERTIFICATE OF SERVICE
      On February 18, 2018, I electronically filed this document through the ECF
system, which will send a notice of electronic filing to counsel of record.

      And my office e-mailed this document to:
             Harlan E. Judd, III
             Harlan E. Judd & Associates
             P.O. Box 51093
             Bowling Green, Kentucky 42102
             harlanjuddlaw@gmail.com


                                      By: s/D. Randall Jewell___________
                                          ATTORNEYS FOR PLAINTIFF




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